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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X
HITLER CALLE, individually and on
behalf of others similarly situated,

                           Plaintiff,                             REPORT AND RECOMMENDATION
                                                                       20 CV 4178 (LDH)(LB)
         -against-

PIZZA PALACE CAFÉ LLC
(D/B/A PIZZA PALACE),
SASHA ISHAQOV, YURI ISHAQOV, and
VLADY DJOURAEV,

                           Defendants.
-------------------------------------------------------X
BLOOM, United States Magistrate Judge:

         Plaintiff Hitler Calle 1 brings this action under the Fair Labor Standards Act (“FLSA”), 29

U.S.C. § 201 et. seq., and the New York Labor Law (“NYLL”), N.Y. Lab. Law §§ 190 et. seq. and

650 et. seq., alleging that defendants failed to pay him overtime wages, provide spread-of-hours

pay, provide required wage statements and notices, and seeking recovery of equipment costs. First

Am. Comp. (“FAC”) ¶¶ 5-7, 10, 82-83, ECF No. 14. Despite proper service of the summons and

complaint, defendants have failed to plead or otherwise defend this action. Plaintiff now moves

for a default judgment pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure. ECF No.

28. The Honorable LaShann DeArcy Hall referred plaintiff’s motion for a default judgment to me

for a Report and Recommendation in accordance with 28 U.S.C. § 636(b). For the reasons set forth

below, it is respectfully recommended that plaintiff’s motion for a default judgment should be

granted.




1
  Plaintiff brought this case purportedly as a Collective Action under 29 U.S.C. ¶ 216(b), however, he seeks a default
judgment only on his own behalf.


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                                             BACKGROUND 2

        Plaintiff worked as a pizza maker at Pizza Palace, defendants’ pizza restaurant located in

Forest Hills, Queens, from approximately January 2017 through March 17, 2020, FAC ¶¶ 15, 22,

32. Plaintiff asserts that defendants Sasha Ishaqov, Yuri Ishaqov, and Vlady Djouraev (the

“individual defendants”) were all “joint employers” and “share[d] control over the employees” of

Pizza Palace Id. ¶¶ 23-24. Each individual defendant operated the defendant corporation, Pizza

Palace LLC, as “an alter ego of themselves.” Id. ¶ 28. In addition, each individual defendant

“determine[ed] the wages and compensation of the employees…including Plaintiff Calle,

establish[ed] the schedules of the employees, maintain[ed] employee records, and [had] the

authority to hire and fire employees.” Id. ¶¶ 19-21. Plaintiff alleges that during the entirety of his

employment, the restaurant had “gross annual sales of not less than $500,000” and that the

restaurant used “numerous items” which travelled in interstate commerce, including “mozzarella

cheese and other supplies.” Id. ¶¶ 30-31, 36. He also claims that he was “required…to purchase

‘tools of the trade’ with his own funds – including uniform shirts, shoes, pants, and a hairnet.” Id.

¶ 47. Plaintiff’s hours at the restaurant varied depending upon the time of year and day of the week.

Id. ¶ 39.

        From 2017 through 2019, plaintiff worked the following hours: Monday through Thursday

from approximately 12:00 p.m. until approximately 10:00 p.m. Id. ¶¶ 39-40. On Fridays, from

approximately 9:00 a.m. until approximately 5:00 p.m between the months of May through

October, and from approximately 9:00 a.m. until about 2:00 p.m. between the months of November

and April. Id. On Sundays, plaintiff worked from approximately 11:00 a.m. until approximately


2
  The facts are drawn from the allegations in plaintiff’s first amended complaint and documents incorporated by
reference. The allegations in the complaint are taken as true for the purpose of deciding this motion. See
Transatlantic Marine Claims Agency, Inc. v. Ace Shipping Corp., Div. of Ace Young Inc., 109 F.3d 105, 108 (2d
Cir. 1997) (deeming all well-pleaded allegations in a complaint admitted on a motion for a default judgment).


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10:00 p.m. Id. In total, plaintiff worked approximately 59 hours per week between the months of

May and October in 2017 through 2019; and approximately 56 hours per week between the months

of November and April in 2017 through 2020. Id.

        Defendants paid plaintiff in cash. Id. ¶ 41. Plaintiff received $930 per week during the

months of May through October in the years 2017 through 2019. Id. He received $910 per week

during the months of November through April in the years 2017 through 2020. Id. Plaintiff alleges

that he was not paid at all for a period of one month and two weeks. 3 Id. ¶ 42. Defendants did not

require plaintiff to track his hours and never provided notices regarding overtime and other wages

as required by FLSA and the NYLL. Id. ¶¶ 43-45. Plaintiff never received overtime pay when he

worked over 40 hours per week nor spread of hours pay when he worked in excess of 10 hours per

day. Id. ¶¶ 48. Plaintiff asserts that defendants paid him in cash and did not provide wage

statements in a willful attempt to avoid paying proper wages. Id. ¶¶ 51-53. Plaintiff never received

accurate wage statements at the time he was paid nor a notice at the time he was hired which stated

his rate of pay. Id. ¶¶ 56-57.



                                       PROCEDURAL HISTORY

        Plaintiff commenced this action on September 8, 2020, ECF No. 1, and filed an amended

complaint on December 22, 2020, ECF No. 14. 4 Plaintiff served defendants with a summons and

the FAC, ECF Nos. 20-23, but defendants failed to answer or otherwise respond. The Clerk of

Court noted entry of defendants’ default. ECF No. 27. Plaintiff now moves for a default




3
  Although plaintiff alleges he was not paid for this period, he does not seek compensation for nonpayment of
wages.
4
  The original complaint named defendants by their first names and the place holder “Doe.” See Compl., ECF No. 1.
The First Amended Complaint named defendants by their first and last names and omitted defendant “Leoy Doe.”
See FAC, ECF No 14.


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judgment. ECF No. 28. In support of his motion, plaintiff provides his counsel’s declaration

(Faillace Decl., ECF No. 29), 5 a damages chart (ECF No. 29-1), plaintiff’s declaration (Calle

Decl., ECF No. 29-2), an “attorney’s fee breakdown” (ECF No. 29-3), a proposed judgment

(ECF No. 29-4), and a Memorandum of Law 6 (“Mem. of Law”) (ECF No. 32).



                                                  DISCUSSION

I. Legal Standard for Default Judgment

         Rule 55 of the Federal Rules of Civil Procedure establishes the two-step process for a

plaintiff to obtain a default judgment. Priestly v. Headminder, Inc., 647 F.3d 497, 504 (2d Cir.

2011). First, “[w]hen a party against whom judgment for affirmative relief is sought has failed to

plead or otherwise defend, and that failure is shown by affidavit or otherwise, the clerk must

enter the party’s default.” Fed. R. Civ. P. 55(a). Second, after a default has been entered against a

defendant and the defendant fails to appear or move to set aside the default under Rule 55(c), the

Court may, on a plaintiff’s motion, enter a default judgment. Fed. R. Civ. P. 55(b)(2). Upon the

completion of these two steps, the Court must determine if the plaintiffs’ well-pleaded complaint

establishes a legitimate cause of action. See Greathouse v. JHS Sec. Inc., 784 F.3d 105, 116 n.17

(2d Cir. 2015).




5
  Michael Faillace was suspended from practice in the Southern and Eastern Districts of New York and moved to
withdraw from this case. Faillace Mot. to Withdraw, ECF No. 36-1. On December 14, 2021, he submitted an
affirmation stating that he “will not individually be asserting a charging or retaining lien in this case.” Id. His law
firm is now under the sole ownership of Catalina Sojo. Id. Plaintiff filed a declaration acknowledging that he was
informed of Mr. Faillace’s suspension and the acquisition of his law firm. Calle Dec. 14, 2021 Aff. ¶ 5, ECF No. 36-
2. He consented to the substitution of counsel. Id. ¶¶ 5-6. The Court granted Mr. Faillance’s Motion to Withdraw on
December 15, 2021. ECF No. 37.
The Court notes that plaintiff’s counsel’s declaration misspells his own name: See ECF No. 29, “Declaration of
Michael Fallace, Esq.” Counsel’s name is Michael Faillace.
6
  Plaintiff initially failed to provide a Memorandum of Law in support of his motion in violation of Local Civil Rule
7.1. The Court ordered plaintiff to provide a Memorandum of Law and he complied. See Electronic Order dated July
13, 2021.


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       In light of the Second Circuit’s “oft-stated preference for resolving disputes on the

merits,” default judgments are “generally disfavored.” Enron Oil Corp. v. Diakuhara, 10 F.3d 90,

95–96 (2d Cir. 1993) (citing Traguth v. Zuck, 710 F.2d 90, 94 (2d Cir. 1983)); Meehan v. Snow,

652 F.2d 274, 277 (2d Cir. 1981)). “Accordingly, plaintiff is not entitled to a default judgment as

a matter of right simply because a party is in default.” Finkel v. Universal Elec. Corp., 970 F.

Supp. 2d 108, 118 (E.D.N.Y. 2013) (citing Erwin DeMarino Trucking Co. v. Jackson, 838 F.

Supp. 160, 162 (S.D.N.Y. 1993) (courts must “supervise default judgments with extreme care to

avoid miscarriages of justice”)).

       On a motion for a default judgment, the Court “deems all the well-pleaded allegations in

the pleadings to be admitted.” Transatlantic Marine Claims Agency, Inc. v. Ace Shipping Corp.,

109 F.3d 105, 108 (2d Cir. 1997). Even though the pleadings are deemed admitted, the Court still

has a “responsibility to ensure that the factual allegations, accepted as true, provide a proper

basis for liability and relief.” Rolls-Royce PLC v. Rolls-Royce USA, Inc., 688 F. Supp. 2d 150,

153 (E.D.N.Y. 2010) (citing Au Bon Pain Corp. v. Artect, Inc., 653 F.2d 61, 65 (2d Cir. 1981)).

Though the court must draw all reasonable inferences from the facts in plaintiff’s favor to

determine defendants’ liability, see Finkel v. Romanowicz, 577 F.3d 79, 84 (2d Cir. 2009), it

“need not credit the plaintiffs’ legal conclusions.” Priestly, 647 F.3d at 504.

       If the unchallenged facts establish defendants’ liability, the Court then determines the

amount of damages due. Credit Lyonnais Secs. (USA), Inc. v. Alcantara, 183 F.3d 151, 155 (2d

Cir. 1999) (citing Transatlantic Marine Claims Agency, Inc., 109 F.3d at 111). In evaluating

defendants’ liability, the Court is limited to the four corners of the complaint. Rolls-Royce PLC,

688 F. Supp. 2d at 153. The Court is not so restricted in determining damages, which may be




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calculated based on documentary evidence, affidavits, or evidence presented at a hearing on

damages. See Transatlantic Marine Claims Agency, Inc., 109 F.3d at 111.



II. Liability under FLSA and the NYLL

A. Defendants Were Plaintiff’s Employers Under FLSA and NYLL

1. FLSA

       Protection under the FLSA requires plaintiff to demonstrate that defendants were his

employers and that he was their employee. See 29 U.S.C. §§ 206, 207; Arnoldo Lopez Vazquez

v. Lahori Kebab & Grill Corp., No. 18-CV-2117(JS)(SIL), 2019 WL 4396724, at *3-4 (E.D.N.Y.

Aug. 13, 2019) Report and Recommendation adopted by 2019 WL 4620922 (E.D.N.Y. Sept. 5,

2019). An employer’s liability under FLSA may be either based on “enterprise or individual

coverage.” Romero v. Floris Constr., Inc., No. 16-CV-4282(PKC)(RLM), 2017 WL 5592681, at

*4 (E.D.N.Y. Nov. 20, 2017). Individual coverage refers to “employees…who are personally

engaged in interstate commerce or in the production of goods for interstate commerce” and

enterprise coverage involves employees “employed by an enterprise engaged in interstate

commerce or in the production of goods for interstate commerce.” Id. (internal quotation marks

omitted) (quoting Gomez v. El Rancho de Andres Carne de Tres, Inc., No. 12-CV-

1264(CBA)(MDG), 2014 WL 1310296, at *3 (E.D.N.Y. Mar. 11, 2014)). In the context of

FLSA, the term commerce means interstate commerce. 29 U.S.C. § 203(b). A person is

employed by an “enterprise engaged in commerce or in the production of goods for commerce”

when the enterprise’s employees produce or work on goods that have moved in commerce and it

has gross annual sales of $500,000 or more. Id. § 203(s). Once plaintiff demonstrates that his




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employment is covered by FLSA, he must then show that defendants failed to abide by FLSA’s

requirements. Arnoldo Lopez Vazquez, 2019 WL 4396724, at *5.

       In pertinent part, under the FLSA, an “employer” means “any person acting directly or

indirectly in the interest of an employer….” 29 U.S.C. § 206. “[T]he determination of whether an

employer-employee relationship exists for the purposes of FLSA should be grounded in

‘economic reality rather than technical concepts.’” Irizarry v. Catsimatidis, 722 F.3d 99, 104 (2d

Cir. 2013) (internal quotation marks omitted) (quoting Barfield v. N.Y.C. Health and Hosps.

Corp., 537 F.3d 132, 141 (2d Cir. 2008)). The Second Circuit instructs that in examining “the

‘economic reality’ of an employment relationship,” Courts should look to “whether the alleged

employer (1) had the power to hire and fire the employees, (2) supervised and controlled

employee work schedules or conditions of employment, (3) determined the rate and method of

payment, and (3) maintained employment records.” Id. (internal quotation marks omitted)

(quoting Barfield, 537 F.3d at 142). The analysis “weighs the ‘totality of the circumstances”; no

one factor is dispositive.” Romero, 2017 WL 5592681, at *5 (citing Herman v. RSR Sec.

Services Ltd., 172 F.3d 132, 139 (2d Cir. 1999)). Ordinarily, “a corporate officer with

operational control over a corporation’s covered enterprise” is considered an employer under the

FLSA and may be jointly and severally liable along with the corporation. See Wilk v. VIP Health

Care Servs., Inc., No. 10 Civ. 5530(ILG)(JMA), 2012 WL 560738, at *7 (E.D.N.Y. Feb, 21,

2012) (internal quotation marks omitted) (quoting Moon v. Kwon, 248 F. Supp. 2d 201, 237

(S.D.N.Y. 2002)).

       Here, plaintiff adequately alleges that Pizza Palace Café LLC and each individual

defendant was his employer. The First Amended Complaint states that each individual defendant

had control over the Pizza Palace Café LLC and “determines the wages and compensation of the



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employees of Defendants, including Plaintiff Calle, establishes the schedules of the employees,

maintains employee records, and has the authority to hire and fire employees.” FAC ¶¶ 19-20,

29. These facts, coupled with each individual defendant’s position as an officer of the corporate

entity and operational control over Pizza Palace Café LLC, permit the Court to conclude that the

defendants were plaintiff’s employers. 7 See Arnoldo Lopez Vazquez, 2019 WL 4396724, at *4

(citing Moon, 248 F. Supp. 2d at 237).

         The allegations are also sufficient to establish enterprise coverage liability under FLSA.

Plaintiff states that defendants “had a gross annual volume of sales of not less than $500,000”

and that the restaurant “regularly handled goods in interstate commerce, such as mozzarella

cheese and other supplies produced outside of the State of New York.” FAC ¶¶ 30-31, 36. These

allegations satisfy the FLSA’s requirements. See Newman v. West Bar & Lounge, Inc., No. 20-

CV-1141(KAM)(RER), 2021 WL 2401176, at *5 (E.D.N.Y, June 11, 2021); Zhen Ming Chen v.

Y Café Ave. B Inc., No. 18-CV-4193(JPO), 2019 WL 2324567, at *2 (S.D.N.Y. May 30, 2019)

(finding that a FLSA claim was sufficiently pleaded where plaintiff alleged that defendant

engaged in interstate commerce with gross sales over $500,000).

2. NYLL

         Courts in this Circuit assign a “coextensive” definition to the term “employer” under both

the FLSA and the NYLL. See Li v. Leung, No. 15 Civ. 5262(CMA)(VMS), 2016 WL 5369489,

at *10 (E.D.N.Y. June 10, 2016)) (quoting Copantitla v. Fiskardo Estiatorio, Inc., 788 F. Supp.

2d 253, 308 n.21 (S.D.N.Y 2011) Report and Recommendation adopted by 2016 WL 5349770



7
 As other Courts have noted in similar cases, plaintiff’s counsel should avoid “‘a formulaic recitation of the
elements of a cause of action,’ which can be ‘insufficient to raise plaintiffs’ right to relief above a speculative level
with respect to that individual’s liability as an employer under the FLSA.’” Cardoza v. Mango King Farmers Mkt.
Corp., No. 14-CV-3314(SJ)(RER), 2015 WL 5561033, at *2 (E.D.N.Y. Sept. 1, 2015) (internal quotation marks
omitted) (quoting Tracy v. NVR, Inc., 667 F. Supp. 2d 244, 247 (W.D.N.Y. 2009)) Report and Recommendation
adopted by 2015 WL 5561180 (E.D.N.Y. Sept. 21, 2015).


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(E.D.N.Y. Sept. 23, 2016). As a result, a finding that an individual or entity is an employer under

FLSA means they are also an employer under the NYLL. Id. (citing Apple v. Atlantic Yards

Dev. Co., LLC, 11 Civ. 5550(JG), 2014 WL 5450030, at *6-9 (E.D.N.Y. Oct. 27, 2014).

Therefore, Pizza Palace Café LLC and the individual defendants are also plaintiff’s employers

under the NYLL.

3. The Defendants Are Jointly and Severally Liable

       When individual defendants and a corporate entity are both found to be a plaintiff’s

employer, “each Defendant is jointly and severally liable under the FLSA and the NYLL for any

damages award made in Plaintiff’s favor.” Mahoney v. Amekk Corp., No. 14 Civ.

4131(ENV)(VMS), 2016 WL 6585810, at *9 (E.D.N.Y. Sept. 30, 2016) (citing Pineda v.

Masonry Const. Inc., 831 F. Supp. 2d 666, 685 (S.D.N.Y. 2011) Report and Recommendation

adopted by 2016 WL 6601445 (E.D.N.Y. Nov. 7, 2016); see also Li, 2016 WL 5369489, at *11

(citing Pineda, 831 F. Supp. 2d at 685) (stating that each defendant employer was jointly and

severally liable for damages under the FLSA and the NYLL). Accordingly, each defendant is

liable for any amount awarded by the Court.

B. Plaintiff is a Non-Exempt Employee

       In general, FLSA defines an employee as a person who works for an employer. 29 U.S.C.

§ 203(e)(1), (g). However, certain employees are excluded from FLSA’s protections. See id. §

203((e)(2)-(4). It is well established though that cooks and kitchen helpers are not exempt under

the FLSA. See e.g., Campos v. BKUK 3 Corp., No. 18-CV-4036(JGK(KHP), 2021 WL

3540243, at *6 (S.D.N.Y. Aug. 10, 2021) (stating that kitchen workers and food preparers are not

exempt under the FLSA) Report and Recommendation adopted by 2021 WL 3863198 (S.D.N.Y.

Aug. 30, 2021); Newman, 2021 WL 2401176, at *5 (citing Fermin v. Las Delicias Peruanas



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 Rest., Inc., 93 F. Supp. 3d. 19, 25 (E.D.N.Y. 2015) (finding that a plaintiff who worked as a

 dishwasher and kitchen cleaner was non-exempt); Lopic v. Mookyodong Yoojung Nakjie, Inc.,

 No. 16-CV-4179(KAM)(CLP), 2017 WL 10845064, at *4 (E.D.N.Y. Sept. 30, 2017).

        Here, plaintiff qualifies for protection under the FLSA. See Juan v. Son of Polisi, Inc.,

 No. 19-CV-4662(LDH)(PK), 2021 WL 2179344, at *7 (E.D.N.Y Jan. 24, 2021) (finding that a

 pizza maker is a non-exempt employee under FLSA) Report and Recommendation adopted by

 Electronic Order (E.D.N.Y. Mar. 31, 2021). Plaintiff also qualifies for protection under the

 NYLL which is “the state analogue to the federal FLSA.” See Fermin, 93 F. Supp. 3d at 34

 (quoting D’Arpa v. Runway Towing Corp., No. 12 Civ. 1120 (JG), 2013 WL 3010810, at *18

 (E.D.N.Y. June 18, 2013). Courts look to several factors to determine whether a worker qualifies

 as an employee under New York law, including whether the worker “(1) worked at his own

 convenience; (2) was free to engage in other employment; (3) received fringe benefits; (4) was

 on the employer’s payroll; and (5) was on a fixed schedule.” Id. (citing Bynog v. Cipriani Grp.,

 Inc., 1 N.Y.3d 193, 198 (2003)). Here, plaintiff’s regularly scheduled shifts and standard pay

 schedule qualify him as an employee under the NYLL. See id.

 C. Liability for Unpaid Wages

 1. Overtime Pay Under the FLSA and NYLL

        The FLSA provides that:

        No employer shall employ any of his employees who in any workweek is engaged in
        commerce or in the production of goods for commerce, or is employed in an enterprise
        engaged in commerce or in the production of goods for commerce for a workweek longer
        than forty hours unless such employee receives compensation for his employment in
        excess of the hours above specified at a rate not less than one and one-half times the
        regular rate at which he is employed.

 29 U.S.C. § 207(a)(1); See also, Juan, 2021 WL 2179344, at *9. Similarly, New York law also

 requires employers to pay their employees “one and one-half times their ‘regular rate” when they


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 work over forty hours a week. Nam v. Ichiba Inc., No. 19-CV-1222(KAM), 2021 WL 878743, at

 *6 (E.D.N.Y. Mar. 9, 2021) (citing 12 N.Y.C.R.R. § 142-2.2). A plaintiff sufficiently alleges a

 claim for unpaid overtime when he states that the amount of hours he worked per week exceeded

 forty hours and that he did not receive overtime pay. See Juan, 2021 WL 2179344, at *9 (citing

 Apolinar v. Glob. Deli & Grocery, Inc., No. 12-CV-3446(RJD)(VMS), 2013 WL 5408122, at *6

 (E.D.N.Y, Sept. 25, 2013)) (finding plaintiff’s allegations that he worked 53 hours per week but

 did not receive overtime sufficient). Plaintiff must allege facts regarding the amount of

 uncompensated overtime he worked. See Nam, 2021 WL 878743, at *6 (citing Lundy v. Catholic

 Health Sys. of Long Island, Inc., 711 F.3d 106, 114 (2d Cir. 2013) (“To state a plausible FLSA

 overtime claim, plaintiff must provide some factual context supporting his claim that he was

 uncompensated for time worked in excess of forty hours.”); see also Pichardo v. El Mismo

 Rincon Latino Corp., No. 17-CV-7439(FB)(SJB), 2018 WL 4101844, at *5 (E.D.N.Y. Aug. 7,

 2018) (quoting Nakahata v. New York-Presbyterian Healthcare Sys. Inc., 723 F.3d 192, 201 (2d

 Cir. 2013) Report and Recommendation adopted by 2018 WL 4100480 (E.D.N.Y. Aug. 28,

 2018).

          Here, plaintiff generally states that he “worked in excess of 40 hours per week” but then

 also provides specifics regarding the approximate hours he worked each week. FAC ¶¶ 38-40.

 The FAC states that “from approximately May through October in the years 2017, 2018 and

 2019” plaintiff worked approximately 59 hours per week. Id. ¶ 39. Plaintiff further alleges that

 he worked approximately 56 hours per week from “November through April in the years 2017,

 2018, 2019, and 2020.” Id. ¶ 40. Despite the number of hours worked, defendants did not pay

 plaintiff overtime. Id. ¶ 48. These allegations are sufficient to establish the defendant’s liability

 for unpaid overtime under the FLSA and NYLL. See Nam, 2021 WL 878743, at *4, *7 (finding



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 detailed allegations that plaintiffs worked over forty hours a week sufficient to support liability

 in the default judgment context); see also Juan, 2021 WL 2179344, at *9; Pichardo, 2018 WL

 4101844, at *5.

 2. Spread of Hours Pay Under the NYLL

        New York law requires an employer to provide spread of hours pay of “one hour’s pay at

 the basic minimum hourly wage rate” on any day in which the employee worked more than 10

 hours. Godwin v. Buka New York Corp., No. 20-CV-969(RPK)(CLP), 2021 WL 612336, at *5

 (E.D.N.Y. Feb. 17, 2021) (quoting 12 N.Y.C.R.R. § 142-2.4(a)) Report and Recommendation

 adopted by 2021 WL 1026553 (E.D.N.Y. Mar. 17, 2021). A plaintiff sufficiently establishes an

 employer’s liability for failure to provide spread of hours pay when he alleges that he worked in

 “excess of ten hours on a given day” but did not receive spread of hours pay. See Arellano v.

 Green Apple 37 Inc., No. 20-CV-5293(LJL), 2021 WL 4319568, at *2 (S.D.N.Y. Sept. 23, 2021)

 (citing Ventura v. Herreros, No. 18-CV-6478(BMC), 2019 WL 343244, at *1 (E.D.N.Y. Jan. 28,

 2019) (noting that an employee must work over ten hours a day to receive spread of hours pay

 and not exactly ten hours); see also Zokirzoda v. Acri Café Inc., No. 18-CV-11630(JPO), 2020

 WL 359908, at *3 (S.D.N.Y. Jan. 22, 2020); Martinez, 2017 WL 5033650, at *17-18

 (recommending an award of spread of hours pay when plaintiffs alleged they worked over ten

 hours a day but never received an additional hour of pay).

        Here, plaintiff alleges that “defendants failed to pay…the required ‘spread of hours’ pay

 for any day in which he had to work over 10 hours a day.” FAC ¶ 7. This allegation is sufficient.

 See Rahman v. Red Chili Indian Café, Inc., No. 17-CV-5156(RA), 2021 WL 2003111, at *3

 (S.D.N.Y May 19, 2021) (finding plaintiff’s allegation that he regularly worked over ten hours a

 day but did not receive spread of hours pay sufficient).



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 D. Wage Notice and Statement Requirements

        Plaintiff also alleges that defendants failed to provide him with certain notices as required

 by New York law. FAC ¶ 77. NYLL § 195(1)(a) requires that at the time of hire every employer

 provide his employees with a written notice, in both English and the employee’s preferred

 language, which contains specified information. This information includes the employee’s rate of

 pay, any claimed allowances, the employee’s pay day, and other information about the

 employer’s business. NYLL § 195(1)(a); see also Martinez v. Alimentos Saludables Corp., No.

 16-CV-1997(DLI)(CLP), 2017 WL 5033650, at *18-19 (E.D.N.Y. Sept. 22, 2017) Report and

 Recommendation adopted by Electronic Order (E.D.N.Y. Oct. 18, 2017). Plaintiff’s allegation

 that he was never provided with the written notice required by NYLL § 195(1) is sufficient to

 establish defendant’s liability for failure to provide the notice. See Lu v. Nisen Sushi of

 Commack, LLC, No. 18-CV-7177(RJD)(ST), 2020 WL 9814084, at *7 (E.D.N.Y. Mar. 14,

 2020) Report and Recommendation adopted by Electronic Order (E.D.N.Y. Mar. 31, 2020).

        New York law also requires employers to “furnish each employee with a statement with

 every payment of wages” which contains the dates covered by the payment, the employee’s

 name, the employer’s name, the employer’s contact information, the employee’s rate of pay and

 other specified information. NYLL § 195(3). Plaintiff’s allegation that defendants never

 provided this statement, FAC ¶¶ 80-81, is sufficient to establish defendants’ liability. See

 Martinez, 2017 WL 5033650, at *21 (finding a defendant liable for a violation of NYLL §

 195(3) and recommending damages).




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 E. “Tools of the Trade” Costs

        Plaintiff alleges that defendants required him to provide certain equipment, so-called

 “tools of the trade,” necessary to perform his job and that he never received reimbursement. FAC

 ¶ 83. He alleges that the purchase of these items, which included a “uniform shirt, shoes, pants,

 and a hairnet,” reduced his wages. Id. ¶¶ 47, 83. Shifting the cost of “tools of the trade” to an

 employee is impermissible under 29 C.F.R. § 531.35, a regulation promulgated under the FLSA,

 when doing so reduces the employee’s wages. See 29 C.F.R. § 531.35 (2021); see also Lu Nan

 Fan v. Jenny & Richard’s Inc., No. 17-CV-6963(WFK)(RLM), 2019 WL 1549033, at *6, *8

 (E.D.N.Y. Feb. 22, 2019) (quoting Ortega v. JR Primos 2 Rest. Corp., No. 15-CV-9183(JCF),

 2017 WL 2634172, at *3 (S.D.N.Y. June 16, 2017) Report and Recommendation adopted by

 2019 WL 1547256 (E.D.N.Y. Apr. 9, 2019). Plaintiff’s allegations adequately state a claim for a

 violation of 29 C.F.R. § 531.35. Lu Nan Fan, 2019 WL 1549033, at *8 (citing Gonzalez v.

 Masters Health Food Serv. Inc., No. 14-CV-7603(VEC), 2017 WL 3835960, at *20 (S.D.N.Y.

 July 27, 2017)) (discussing allegations of unreimbursed gas and maintenance purchases for a

 food delivery vehicle); but see Cazares v. 2898 Bagel & Bakery Corp., No. 18-CV-5953(AJN),

 2020 WL 2832766, at *5 (S.D.N.Y. May 31, 2020) (citing Hernandez v. Spring Rest. Grp., LLC,

 No. 17-CV-6084(AJN), 2018 WL 3962832, at *4 (S.D.N.Y. Aug. 17, 2018) (rejecting a “tools of

 the trade” claim when plaintiffs failed to allege how much they spent on ordinary wardrobe

 items, if they were specially made, and why the items were needed). This shifting of costs also

 violates NYLL § 193. See Osario v. Taste of Thai Inc., No. 17-CV-5664 (JBW)(JO), 2018 WL

 8059564, at *3 (E.D.N.Y. Sept. 12, 2018) Report and Recommendation adopted by 2019 WL

 1795954 (E.D.N.Y. Mar. 29, 2019)




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 F. Applicable Statutes of Limitation

        The statute of limitations applicable to a FLSA action is two years and may extend to

 three years if a defendant employer’s violations were willful. See Estrade v. Therapy PLLC, No.

 20-CV-6125(LJL), 2021 WL 4427068, at *2 (S.D.N.Y. Sept. 27, 2021) (citing 29 U.S.C. §

 255(a)). Although a defendant’s default waives the statute of limitations as an affirmative

 defense, Ge Chun Wen v. Hair Party 24 Hours Inc., No. 15-CV-10186(DF), 2021 WL 3375615,

 at *9, (S.D.N.Y. May 17, 2021) (citing United States Sec. & Ech. Comm’n v. Boock, 750 Fed.

 Appx. 61, 62 (2d. Cir. 2019) (summary order)) Report and Recommendation adopted by 2021

 WL 2767152 (S.D.N.Y, July 2, 2021), the statute still serves to limit the period for which a

 successful plaintiff may recover damages, id. (citing Guallpa v. NY Pro Signs Inc., No. 11 Civ.

 3133(LGS)(FM), 2014 WL 2200393, at *2 n.2). The Second Circuit instructs that “a Court need

 not accept as true a plaintiff’s conclusory allegation that a defendant willfully violated the

 FLSA.” Whiteside v. Hover-Davis, Inc., 995 F.3d 315, 321 (2d. Cir. 2021). Instead, a plaintiff

 must “plausibly allege” willfulness before he will be entitled to the extended statute of

 limitations. Id. at 323. However, in the default context, violations of FLSA are considered willful

 and Courts apply the three-year limitations period which runs from the commencement of

 plaintiff’s employment. Nam, 2021 WL 878743, at *3 (first citing Leon v. Zita Chen, No. 16-

 CV-480(KAM)(PK), 2017 WL 1184149, at *4 (E.D.N.Y. Mar. 29, 2017); and then citing

 Wicaksono v. XYZ 48 Corp., No. 10 Civ. 3635(LAK)(JCF), 2011 WL 2022644, at *8-9

 (S.D.N.Y. May 2, 2011) Report and Recommendation adopted by 2011 WL 2038973 (S.D.N.Y.

 May 24, 2011)).

        Here, the Court should apply a three-year statute of limitations to plaintiff’s FLSA claims

 based on defendants’ default. See id. (applying a three-year statute of limitations to FLSA claims



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 when the defendant defaulted). The complaint was filed on September 8, 2020 and so plaintiff

 may recover damages from September 8, 2017 onward. Plaintiff began working for the

 defendants in January 2017, FAC ¶ 34, and were FLSA the only applicable statute, this cut off

 would limit his total recovery. However, plaintiff also alleges defendants violated his rights

 under the NYLL which has a six-year statute of limitations. See Estrada, 2021 WL 4427068, at

 *2 (citing NYLL § 663(3)). All of plaintiff’s allegations fall well within the six-year period.

 Plaintiff cannot receive a “double recovery” under both the FLSA and the NYLL, see Rana v.

 Islam, 887 F.3d 118, 123 (2d Cir. 2018), and as will be discussed below, plaintiff will recover

 the same amount under the FLSA and the NYLL here. Nam, 2021 WL 878743, at *7 (discussing

 how the application of the FLSA and the NYLL and their related regulations yield the same

 overtime compensation award). Plaintiff should recover unpaid wages for the entirety of his

 employment by defendants.



 II. Damages

        It is well established that a default, is “deemed to constitute a concession of all well

 pleaded allegations of liability,” but it is “not considered an admission of damages.” Cement &

 Concrete Workers Dist. Council Welfare Fund v. Metro Found. Contractors, Inc., 699 F.3d 230,

 234 (2d Cir. 2012) (internal quotation marks and citation omitted); see also Credit Lyonnais

 Secs. (USA), Inc., 183 F.3d at 155 (“Even when a default judgment is warranted based on a

 party’s failure to defend, the allegations in the complaint with respect to the amount of the

 damages are not deemed true.”). On a motion for a default judgment, a plaintiff has the burden to

 prove damages to the Court with a “reasonable certainty.” Credit Lyonnais Secs. (USA), Inc, 183

 F.3d at 155 (citing Transatlantic Marine Claims Agency, Inc., 109 F.3d at 111). The Court,



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 however, does not need to hold a hearing, as “detailed affidavits and documentary evidence”

 may be sufficient. Cement & Concrete Workers Dist. Council Welfare Fund, 699 F.3d at 234

 (citing Action S.A. v. Marc Rich & Co., Inc., 951 F.2d 504, 508 (2d Cir. 1991)).

        Plaintiff’s papers are internally inconsistent regarding the need for an inquest to

 determine the proper amount of damages to be awarded here. Plaintiff’s Memorandum of Law

 states “[p]laintiff maintains that the proof submitted herewith is sufficient on its own to obviate

 the need for a hearing on damages.” Pl.’s Mem. of Law. 2. However, plaintiff’s damages

 calculations chart contains a notation which states “[t]his chart is based upon preliminary

 information and the expected testimony of Plaintiffs (sic).” Damages Chart 1, ECF No. 29-1.

 This contradiction undermines plaintiff’s position. However, despite plaintiff’s counsel’s sloppy

 work, I find that a proper damages award can be calculated without the need for an inquest.

        The burden rests on an employee to prove that he was not appropriately compensated for

 the work he performed. Newman, 2021 WL 2401176, at *6 (quoting Rodriguez v. Queens

 Convenience Deli Corp., No. 09-CV-1089(KAM)(SMG), 2011 WL 4962397, at *2 (E.D.N.Y.

 Oct. 18, 2011)). When a defendant fails to appear and produce employment records, the Court

 may credit a plaintiff’s assertions regarding the hours he worked and compensation he received,

 even when based only on his recollection. Hernandez Gomez v. 4 Runners, Inc., 769 Fed. Appx.

 1, 2 (2d Cir. 2019) (summary order) (quoting Kuebel v, Black & Decker Inc., 643 F.3d 352, 362

 (2d Cir. 2011)); Newman, 2021 WL 2401176, at *6-7 (quoting Rivera v. Ndola Pharm Corp.,

 497 F. Supp. 2d 381, 388 (E.D.N.Y. 2007)); Arnoldo Lopez Vazquez, 2019 WL 4396724, at *6

 (citing Perez v. Queens Boro Yang Cleaners, Inc., No. 14-CV-7310(SJ)(JO) , 2016 WL 1359218,

 at *2 (E.D.N.Y. Mar. 17, 2016)) Report and Recommendation adopted by 2016 WL 1337310

 (E.D.N.Y. Apr. 5, 2016). A Court may award damages based upon a plaintiff’s recollection of



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 the hours he worked “even though the result is only approximate.” Hernandez Gomez, 769 Fed

 Appx. at 2 (quoting Reich v. S. New England Telecomm. Corp., 121 F.3d 58, 66-67 (2d Cir.

 1997)). Here, plaintiff seeks to recover unpaid overtime wages; spread of hours pay; liquidated

 damages; damages for violations of New York’s wage notice and wage statement requirements;

 damages related to his purchase of “tools of the trade”; and pre-judgment interest. Pl.’s Mem. 2-

 7. Plaintiff relies upon his own declaration, Calle Decl., ECF No. 29-2, and a Damages Chart,

 ECF No. 29-1.

 A. Unpaid Overtime Pay

           Under both the FLSA and the NYLL, an employee must be paid at an overtime rate of

 one-and one-half times his regular rate when he works over forty hours per week. 29 U.S.C. §

 207(a)(1); 12 N.Y.C.R.R. § 146-1.4. Although an employer’s failure to provide overtime wages

 violates both the FLSA and NYLL, an employee “may recover only once.” Newman, 2021 WL

 2401176, at *9 (citing Yu G. Ke v. Saigon Grill, Inc., 595 F. Supp. 2d 240, 262 n.44 (S.D.N.Y.

 2008)).

           Pursuant to federal regulation, an employee’s regular rate of pay is determined by

 dividing his salary by the number of hours it is intended to compensate. Ge Chun Wen, 2021 WL

 3375615, at *10 (quoting 29 C.F.R. § 778.113(a)). This regular rate is then multiplied by one and

 one-half to determine the employee’s overtime rate. See Id. “[U]nder the FLSA, ‘there is a

 rebuttable presumption that a weekly salary covers only the first [40] hours, unless the parties

 have an alternate agreement.’” Id. (quoting Pinovi v. FDD Enterps., Inc., No. 13-CV-

 2800(GBD)(KNF), 2015 WL 4126872, at *4 (S.D.N.Y. July 8, 2015)). Defendants’ default

 prevents any rebuttal of the presumption. Newman, 2021 WL 2401176, at *10 (citing Valdez v.

 H & S Rest. Operations, Inc., No. 14-CV-4701(SLT)(MDG), 2016 WL 3079028, at *5



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 (E.D.N.Y. Mar. 29, 2016) Report and Recommendation adopted by 2016 WL 3087053

 (E.D.N.Y. May 27, 2016)).

        Under New York law, if an employee in the hospitality industry is not paid hourly, the

 employee’s regular hourly rate of pay is determined by dividing their weekly salary “by the

 lesser of 40 hours or the actual number of hours worked by the employee during the work week.”

 12 N.Y.C.R.R. § 146-3.5; see also, Rowe v. CC Rest. & Bakery, Inc., No. 17-CV-

 1423(CBA)(PK), 2019 WL 4395158, at *8 (E.D.N.Y. Aug. 15, 2019) (discussing 12 N.Y.C.R.R.

 § 146-3.5 and explaining that its provisions are mandatory) Report and Recommendation

 adopted by 2019 WL 4393987 (E.D.N.Y. Sept. 13, 2019). This regular rate is then multiplied by

 the number of overtime hours worked each week to obtain the employee’s total weekly overtime

 wages. See Rowe, 2019 WL 4395158, at *8.

        Courts allow plaintiffs to recover under the statute which provides the greatest relief.

 Arnoldo Lopez Vazquez, 2019 WL 4396724, at *6 (quoting Ni v. Bat-Yam Food Servs., Inc.,

 No. 13-CV-7274(ALC)(JCF), 2016 WL 369681, at *1 (S.D.N.Y. Jan. 27, 2016)). Here, recovery

 is appropriate under the NYLL which has a six-year statute of limitations, covering the entire

 period of plaintiff’s employment period. See Ge Chun Wen, 2021 WL 3375615, at *15; Arnoldo

 Lopez Vazquez, 2019 WL 4396724, at *6 (citing Luna v. Gon Way Constr., Inc., No. 16-CV-

 1411(ARR)VMS), 2017 WL 835321, at *15 (E.D.N.Y. Feb 14, 2017)) Report and

 Recommendation adopted by 2017 WL 835174 (E.D.N.Y. Mar. 2, 2017)).

        Plaintiff Calle’s weekly salary varied depending on the time of year. FAC ¶¶ 39-41; Calle

 Decl. ¶¶ 8-10. In the years 2017 through 2019, from May through October, plaintiff worked

 approximately 59 hours per week and was paid a weekly salary of $930. FAC ¶¶ 39, 41; Calle

 Decl. ¶¶ 8, 10. In the years 2017 through 2020, from November through April, plaintiff worked



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 approximately 56 hours per week and was paid a weekly salary of $910. FAC ¶¶ 40-41; Calle

 Decl. ¶¶ 9-10. The FAC and plaintiff’s declaration reveal that the only difference in plaintiff’s

 hours between May through October and November through April is plaintiff’s additional three

 hours of work on Fridays from May through October. Compare Calle Decl. ¶ 8 with Calle Decl.

 ¶ 9.

         This information allows the Court to determine the amount of overtime compensation due

 to plaintiff. The Court calculates plaintiff’s overtime rate by first determining his regular rate of

 pay. Plaintiff’s regular rate of pay is equal to his weekly salary divided by forty hours. See

 Rowe, 2019 WL 4395158, at *8. The regular rate of pay is then multiplied by 1.5 to determine

 plaintiff’s overtime rate of pay. For the months of May through October, plaintiff’s regular rate

 of pay is $23.25 per hour ($930/40). Therefore, his overtime rate of pay is $34.88 ($23.25 x 1.5).

 For the months of November through April, plaintiff’s regular rate of pay is $22.75 per hour

 ($910/40). Therefore, his overtime rate of pay for that time period is $34.13 ($22.75 x 1.5). From

 May through October, when plaintiff worked 59 hours per week, he should have received an

 additional $662.72 ($34.88 x 19) in weekly overtime pay in addition to his weekly salary. For the

 months of November through April, when he worked 56 hours per week, plaintiff should have

 received an additional $546.08 ($34.13 x 16) in weekly overtime pay. 8

         The Court must determine the total amount of overtime that defendants owe plaintiff.

 Plaintiff provides his own calculations in a damages chart filed with his motion. Damages Chart,

 ECF No. 29-1. However, the data in plaintiff’s chart does not align with plaintiff’s weekly hours




 8
   Plaintiff’s calculations differ slightly from the Court’s calculations. See Damages Chart, ECF No. 29-1. Although
 plaintiff determined the same overtime rates as the Court, he determined different weekly underpayments. For weeks
 in which he worked 56 hours, he believes he was underpaid by $546.00, not the $546.08 determined by the Court.
 For weeks in which he worked 59 hours he believes he was underpaid by $662.63, not the $662.72 determined by
 the Court.


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 in both the FAC and plaintiff’s declaration. Compare Damages Chart, ECF No. 29-1 with FAC

 ¶¶ 39-40 and Calle Decl. ¶¶ 8-9. The FAC and plaintiff’s declaration state that from May through

 October, he typically worked 59 hours per week and from November through April, plaintiff

 typically worked 56 hours per week. FAC ¶¶ 39-40; Calle Decl. ¶¶ 8-9. Plaintiff’s damages

 calculations do not reflect this information. For example, plaintiff’s damages chart states that

 between September 2017 and December 31, 2017, plaintiff only worked 56 hours per week. See

 Damages Chart at 1, ECF 29-1. Plaintiff’s calculations are incorrect for the months of September

 and October. 9 Therefore, the Court cannot rely on plaintiff’s calculations and must calculate the

 amount plaintiff is due in overtime compensation. 10

           The Court will rely on the work schedule detailed in the FAC and plaintiff’s declaration.

 Plaintiff began working for defendants in January 2017, Calle Decl. ¶ 6, and so the Court will

 begin calculating overtime compensation from January 1, 2017. The Court calculates the

 overtime compensation that plaintiff is due from defendant as follows:

            Period                Total Hours          OT          Weeks 11      Underpayment 12             Total
                                   Per Week           Hours
       1/1/2017-4/30/2017             56               16             17               546.08              9,283.36
      5/1/2017-10/31/2017             59               19            26.14             662.72             17,323.50
      11/1/2017-4/30/2018             56               16            25.71             546.08             14,039.72
      5/1/2018-10/31/2018             59               19            26.14             662.72             17,323.50
      11/1/2018-4/30/2019             56               16            25.71             546.08             14,039.72
      5/1/2019-10/31/2019             59               19            26.14             662.72             17,323.50
     11/1/2019-3/17/2020 13           56               16            19.57             546.08             10,686.79

                                                                                               Total $100,020.09


 9
   Plaintiff’s counsel’s declaration similarly conflicts with the FAC and plaintiff’s declaration, stating that he worked
 56 hours per week from September 1, 2017 through December 21, 2017. Faillace Decl. ¶ 26.
 10
    Plaintiff’s damages chart also misstates, without explanation, the length of time between different dates. For
 example, plaintiff’s chart states that the length of time between May 1, 2017 and August 31, 2017 is 17 weeks. See
 Damages Chart, ECF No. 29-1. There are in fact 17 weeks and 3 days between those two dates.
 11
    This number is expressed as a decimal when the period between two dates does not equal a whole number of
 weeks.
 12
    The underpayment is equal to plaintiff’s overtime rate multiplied by the number of overtime hours worked.
 13
    Plaintiff’s employment ended on approximately March 17, 2020. Calle Decl. ¶ 6.


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         Accordingly, I recommend that plaintiff should be awarded $100,020.09 in unpaid

 overtime compensation against defendants.

 B. Spread of Hours Pay

         Under New York law, plaintiff is entitled to “an additional hour of pay at the minimum

 wage rate for each day on which” he worked more than ten hours. Lamaka v. Russian Desserts

 Inc., No. 18 Civ. 7354(ILG)(VMS), 2021 WL 2188280, at *11 (E.D.N.Y. Feb. 12, 2021) (citing

 12 N.Y.C.R.R. § 146.1.6) Report and Recommendation adopted by 2021 WL 2184870

 (E.D.N.Y. May 28, 2021). According to plaintiff’s declaration, he only worked in excess of ten

 hours a day on Sundays when he worked from approximately 11:00 a.m. to approximately 10:00

 p.m. Calle Decl. ¶¶ 8-10. Plaintiff is entitled to spread of hours pay for each Sunday between

 January 1, 2017 and March 17, 2020. The minimum wage in New York City increased several

 times during the period of plaintiff’s employment and the amount of each increase was

 dependent on an employer’s status as a “large” or “small” employer. 14 See NYLL § 652(1)(a).

 The NYLL defines a “large employer” as an “employer of eleven or more employees” and a

 “small employer” as an “employer of ten or less employees.” Id. The following chart illustrates

 the change in the minimum wage rate during plaintiff’s employment:


                          Applicable New York City Minimum Wage
                                      NYLL § 652(1)(a)
               Period                   Large Employer                               Small Employer
  On or after December 31, 2016         $11.00 per hour                              $10.50 per hour
  On or after December 31, 2017         $13.00 per hour                              $12.00 per hour
  On or after December 31, 2018         $15.00 per hour                              $13.50 per hour
  On or after December 31, 2019         $15.00 per hour                              $15.00 per hour




 14
   The NYLL sets the minimum wage amount but also acknowledges that a greater minimum wage may be set by
 federal law. NYLL § 652(1)(a). The federal minimum wage has remained stagnant at $7.25 since 2009. 29 U.S.C. §
 206.


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          Plaintiff seeks $2,154 in unpaid spread of hours pay. Plaintiff alleges he worked over ten

 hours every Sunday between January 1, 2017 and March 17, 2020. See Damages Chart 2.

 Although he never explicitly states his employer’s size, plaintiff’s calculations reflect the

 minimum wage rate applicable to large employers in New York City. See id. However,

 plaintiff’s declaration and the FAC both fail to address how many employees worked at

 defendants’ business. In the absence of any information about the size of the business, Courts

 “apply the minimum-wage rates for ‘small-employers.’” See Reyes v. Café Cousina Rest. Inc.,

 No. 18-CV-1872(PAE)(DF), 2019 WL 5722475, at *9 (S.D.N.Y. Aug. 27, 2019) (citing Reyes v.

 Lincoln Deli Grocery Corp., No. 17-CV-2732(KBF), 2018 WL 2722455, at *7 (S.D.N.Y. June 5,

 2018)) Report and Recommendation adopted by 2019 WL 5722109 (S.D.N.Y. Oct. 7, 2019). 15

 But see Reyes, 2019 WL 5722475, at *9 (citing Sanchez v. Jyp Foods Inc., No. 16-CV-

 4472(JLC), 2018 WL 4502008, at *9 n.13 (S.D.N.Y. Sept. 20, 2018) (applying the rate for large

 employers in light of defendant’s default)). The Court applies the rate applicable to small

 employers, as follows:

                                             Spread of Hours Pay
                                       January 1, 2017 – March 17, 2020
              Period                        Applicate Rate    Number of Sundays                          Total
  01/1/2017-12/30/2017                          $10.50                52                                 $546
  12/31/2017-12/30/2018                         $12.00                53                                 $636
  12/31/2018-12/30/2019                         $13.50                52                                 $702
  12/31/2019-03/17/2020                         $15.00                11                                 $165

  Total                                                                                                 $2,049

          Accordingly, I recommend that plaintiff should be awarded $2,049 in unpaid spread of

 hours compensation against defendants.




 15
   Plaintiff’s counsel in the present matter, Michael Faillace, represented plaintiff in Reyes v. Café Cousina Rest.
 Inc.


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 C. Liquidated Damages

        Plaintiff seeks an award of liquidated damages. As previously discussed, a Court may

 only award liquidated damages under either the FLSA or the NYLL, not both. See Rana, 887

 F.3d at 123. As the NYLL allows for the greatest recovery, the Court considers plaintiff’s claims

 for liquidated damages under New York law. Id.; see also, Cabrera v. Candela, 412 F. Supp. 3d

 167, at 183-84 (E.D.N.Y. 2019).

        In any action to recover unpaid wages, the NYLL permits an award of liquidated

 damages “equal to one hundred percent of the total amount of the wages found to be due.”

 NYLL § 198(1-a). An employer may avoid such an award by “prov[ing] a good faith basis to

 believe that its underpayment of wages was in compliance with the law.” Id. However, in the

 case of a default, a defendant employer is unable to meet this burden and an award of liquidated

 damages is proper. See Cabrera, 412 F. Supp. 3d at 184; Lopic, 2017 WL 10845064, at *9.

        Under the NYLL, plaintiff is entitled to an award of liquidated damages equal to the

 amount he is owed in unpaid overtime and spread of hours pay. See Ismail v. Bake Ridge Bagels,

 Inc., No. 18-CV-517(ILG)(RML), 2020 WL 8988274, at *1 (E.D.N.Y. May 26, 2020); Garcia v.

 Pawar Bros Corp., No. 18-CV-2656(BMC), 2018 WL 4100482, at *2 (E.D.N.Y. Aug. 28, 2018).

 Accordingly, I recommend that plaintiff should be awarded liquidated damages totaling

 $102,069.09 ($100,020.09 in unpaid overtime pay + $2,049 in unpaid spread of hours pay)

 against defendants.

 D. Wage Notice and Wage Statement Damages

        As discussed above, plaintiff seeks to recover damages for defendants’ failure to provide

 him with required notices pursuant to NYLL § 195(1) & (3). FAC ¶¶ 77, 80. Under NYLL §

 198(1-b):



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        If any employee is not provided within ten business days of his or her first day of
        employment a notice as required by subdivision one of section one hundred-ninety-five
        of this article, he or she may recover in a civil action damages of fifty dollars for each
        work day that the violations occurred or continue to occur, but not to exceed a total of
        five thousand dollars….

 See Martinez, 2017 WL 5033650, at *18-21 (explaining the history and application of NYLL §

 195(1)).

        The FAC and plaintiff’s declaration both assert that plaintiff never received the notice

 required by NYLL § 195(1). FAC ¶ 77; Calle Decl. ¶¶ 13-14. Plaintiff worked for defendants for

 approximately three years and three months. Calle Decl. ¶ 6. This period is far in excess of 100

 days, the period of time over which the maximum penalty of $5,000 would accrue. See NYLL §

 198(1-b). Therefore, plaintiff should be awarded the maximum damages of $5,000 for

 defendant’s violation of NYLL § 195(1).

        NYLL § 198(1-d) states that:

        If any employee is not provided a statement or statements as required by subdivision
        three of section one hundred ninety-five of this article, he or she shall recover in a civil
        action damages of two hundred fifty dollars for each work day that the violations
        occurred or continue to occur, not to exceed a total of five thousand dollars….

 Plaintiff never received the required notice, see Calle Decl. ¶¶ 13-14, and worked far more than

 the 20 days after which defendants would be liable for the maximum amount of statutory

 damages.

        Accordingly, I recommend that plaintiff should be awarded $5,000 for defendants’ failure

 to provide wage notices and another $5,000 for defendants’ failure to provide wage statements.

 See Newman, 2021 WL 2401176, at *12 (awarding a total of $10,000 for failure to provide wage

 notices and wage statements for a period of 444 days).




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 E. “Tools of the Trade”

        Plaintiff seeks to recover damages for being required to purchase “tools of the trade”

 without reimbursement from defendants. Pl.’s Mem. 6; Calle Decl. ¶ 15. Defendants failure to

 reimburse plaintiff for these expenses violates federal employment law. 29 C.F.R. § 531.35.

 Plaintiff’s declaration states that, “[d]efendants required me to purchase uniforms and hairnets

 out of my own funds.” Calle Decl. ¶ 15. He alleges his expenses for this equipment totaled $308.

 Id. Although plaintiff did not supply receipts for these costs, the Court may accept plaintiff’s

 sworn declaration as proof that he was required to purchase these items and their cost. See Lu

 Nan Fan, 2019 WL 1549033, at *12; see also Zhen Ming Chen v. New Fresco Tortillas Taco

 LLC, No. 15 Civ. 2158(RA)(AJP), 2015 WL 5710320, at *4-5 (S.D.N.Y. Sept. 25, 2015) Report

 and Recommendation adopted by 2017 WL 818469 (S.D.N.Y. Mar. 1, 2017). Accordingly,

 plaintiff should be awarded $308 as reimbursement for his “tools of the trade” expenses against

 defendants.

 F. Pre-judgment Interest

        Plaintiff also seeks an award of pre-judgment interest. Pl.’s Mem. of Law 2, 7. Such an

 award is expressly authorized by the NYLL. See NYLL § 198(1-a). However, prejudgment

 interest is only available for unpaid wage amounts, not for damages awarded for failure to

 provide wage notices and statements. See Jacome v. Optical 49, Inc., No. 20-CV-2615(DG)(PK),

 2021 WL 3375134, at *12 (E.D.N.Y. July 9, 2021) (citing Ying Ying Dai v. ABNS NY Inc., 490

 F. Supp. 3d 645, 662 (E.D.N.Y. 2020) Report and Recommendation adopted by 2021 WL

 3373130 (E.D.N.Y. Aug. 3, 2021). When calculating pre-judgment interest under the NYLL,

 Courts rely on the statutory rate of nine percent set forth in C.P.L.R. § 5004 and use a reasonable

 midpoint when damages accrued over a period of time. See Jemine v. Dennis, 901 F. Supp. 2d



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 365, 390-91 (E.D.N.Y. 2012) (citing Pavia v. Around the Clock Grocery, Inc. No. 03-CV-

 6465(ERK), 2005 WL 4655383, at *8 (E.D.N.Y. Nov. 15, 2005).

         Here, the Court finds August 10, 2018, a date roughly equidistant from plaintiff’s first

 and last days of employment, to be a reasonable intermediate point from which to calculate

 prejudgment interest. See id. (citing Pavia, 2005 WL 4655383, at *8) (finding the midway point

 between when plaintiff started and ended working for his employer as an appropriate

 intermediate point). Applying a nine percent per annum rate of interest, plaintiff should be

 awarded $31,286.31 16 in prejudgment interest from August 10, 2018 through the date of this

 Report. This amount will increase by $25.17 per day until the entry of judgment.

 G. Post-judgment Interest and NYLL § 198(4)

         Although the FAC requests an award of post-judgment interest, FAC ¶ WHEREFORE (n),

 plaintiff fails to substantively address this request in his Memorandum of Law. However, an

 award of post-judgement interest pursuant to 28 U.S.C. § 1961(a) is mandatory in cases where a

 money judgment is awarded. See Fermin, 93 F. Supp. 3d. at 53 (quoting Duffy v Oyster Bay

 Indus., Inc., No. 10 Civ. 3205(ADS)(ETB), 2011 WL 2259798, at *3 (E.D.N.Y. Mar. 29, 2011))

 Report and Recommendation adopted by 2011 WL 2259749 (E.D.N.Y. June 2, 2011).

 Accordingly, I recommend that plaintiff should be awarded post-judgment interest as set forth in

 28 U.S.C. 1961(a). Further, I recommend, as provided by NYLL § 198(4), “that if any amounts

 remain unpaid upon the expiration of ninety days following issuance of judgment, or ninety days

 after expiration of the time to appeal and no appeal is then pending, whichever is later, the total

 amount of judgment shall automatically increase by fifteen percent.”




  This amount equals the total amount of unpaid wages ($102,069.09) multiplied by 9%, divided by 365, and then
 16

 multiplied by the number of days between August 10, 2018 and the date of this Report.


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 III. Attorney’s Fees and Costs

 A. Attorney’s Fees

          The FLSA and the NYLL both permit the recovery of attorney’s fees and costs. 29 U.S.C.

 § 216(b); NYLL § 663(1). Plaintiff seeks attorney’s fees and costs either in accordance with his

 counsel’s retainer agreement or in the amount reflected in counsel’s billing records. 17 Faillace

 Decl. ¶¶ 37-38.

          An appropriate attorney’s fee award is determined by multiplying a reasonable hourly rate

 by the reasonable number of hours plaintiff’s attorney spent working on a matter. See Newman,

 2021 WL 2401176, at *12 (quoting Hensely v. Eckerhart, 461 U.S. 424, 433 (1983)). When

 examining the reasonableness of a requested fee, the Court determines the “presumptively

 reasonable fee,” the amount that a client would be willing to pay for the attorney’s services. See

 Arbor Hill Concerned Citizens Neighborhood Ass’n v. County of Albany & Albany County Bd.

 Of Elections, 522 F.3d 182, 190 (2d Cir. 2008); see also Ryeco, LLC v. Legend Produce Inc., No.

 20-CV-4044(FB)(RER), 2021 WL 2742873, at *10 (E.D.N.Y. May 24, 2021) (citing Simmons v.

 New York City Transit Auth, 575 F.3d 170 (2d Cir. 2009)) Report and Recommendation adopted

 by 2021 WL 2741605 (E.D.N.Y. July 1, 2021). This calculation of an attorney’s fee is often called

 the “lodestar” method. See Millea v. Metro-North R. Co., 658 F.3d 154, 166 (2d Cir. 2011) (citing

 Arbor Hill, 522 F.3d at 183). Plaintiff bears the burden of providing records and sufficient evidence

 to support an award of the requested fees. Martir v. Huntington Provisions Inc., No. 19-CV-

 2412(DRH)(AYS), 2020 WL 2736696, at *8 (E.D.N.Y. Apr. 29, 2020) Report and

 Recommendation adopted by 2020 WL 2735173 (E.D.N.Y. May 26, 2020).



 17
    There is a discrepancy between counsel’s declaration and the billing records submitted in support of plaintiff’s
 request for attorney’s fees. Counsel’s declaration requests fees in the amount of $9,812.10 but the billing records
 state that fees totaled only $3,581.80. Compare Faillace Decl. ¶ 39 with Attorney’s Fee Breakdown 3.


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            Courts are guided by “the prevailing hourly rates in the district in which they sit.” Palaghita

 v. Alkor Capital Corp., No. 19-CV-1504(ARR)(RER), 2021 WL 4464121, at *12 (E.D.N.Y. Aug.

 20, 2021) (citation omitted). In the Eastern District of New York, Courts “have recently awarded

 hourly rates ranging from $300 to $450 for partners, $200 to $325 for senior associates, $100 to

 $200 for junior associates, and $70 to $100 for legal support staff in FLSA cases.” Id. (quoting

 Martinez v. New 168 Supermarket LLC, 19-CV-4526(CBA)(SMG), 2020 WL 5260579, at *8

 (E.D.N.Y. Aug. 19, 2020)) Report and Recommendation adopted by 2020 WL 5259056 (E.D.N.Y.

 Sept. 3, 2020)). Courts also consider counsel’s qualifications and experience litigating the matter

 at issue. Martinez v. City of New York, 330 F.R.D. 60, 67 (E.D.N.Y. 2019) (quoting Hugee v.

 Kimso Apartments, LLC, 852 F. Supp. 2d 281, 300 (E.D.N.Y. 2012). Ultimately, the Court has

 wide discretion in determining a reasonable hourly rate. Id. (quoting Encalada v. Baybridge Enters.

 Ltd., 612 Fed Appx. 54, 54 (2d Cir. 2015) (summary order)).

            After determining a reasonable hourly fee, Courts examine whether the amount of time

 spent working on a matter was reasonable. Lu Wan v. YWL USA Inc., No. 18-CV-10334(CS),

 2021 WL 1905036, at *6 (S.D.N.Y. May 12, 2021) (quoting Villanueva v. 179 Third Ave. Rest.

 Inc., No. 16-CV-8782, 2020 WL 8671938, at *15 (S.D.N.Y. Sept. 3, 2020)). In conducting this

 review, the Court should deny fees for excessive or unnecessary hours spent working on the case.

 Martinez, 2017 WL 5033650, at *27 (quoting Bliven v. Hunt, 579 F.3d 204, 213 (2d Cir. 2009)).

 1. Reasonable Hourly Rates

            Plaintiff requests attorney’s fees totaling $3,581.80 for 12.20 hours of work. Pl.’s Mem. 7;

 Attorney’s Fee Breakdown, ECF No. 29-3. Plaintiff’s counsel’s declaration and the accompanying

 billing records state that attorneys Michael Faillace 18 and Clela Errington and a paralegal worked



 18
      See supra note 5 discussing Mr. Faillace’s suspension in this district and his withdrawal in this case.


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 on this matter. Faillace Decl. ¶ 38; Attorney Billing Records, ECF No. 29-3. Mr. Faillace is “the

 Managing Member of Michael Faillace & Associates, PC [and] has been in practice since 1983.”

 Faillace Decl. ¶ 38(a). He describes himself as a “nationally-renowned speaker and writer on

 employment law” and states that he bills at $450 an hour. Id. Ms. Errington graduated from New

 York University School of Law in 2012 and focused on labor and employment law early on in her

 career. Id. ¶ 38(b). She bills at $350 an hour. Id.

        Other Courts have noted that Mr. Faillace’s $450 hourly rate is at the “upper range of the

 rates generally awarded to partners in this district” and have reduced his hourly rate to $375.

 Martinez, 2017 WL 5033650, at *26 (citing Saucedo v. On the Spot Audio Corp., No. 16-CV-

 451(CBA)(CLP), 2016 WL 8376837, at *18 (E.D.N.Y. Dec. 21, 2016)) Report and

 Recommendation adopted by 2017 WL 780799 (E.D.N.Y. Feb. 28, 2017); see also De La Cruz

 Casarrubias v. Surf Ave. Wine & Liquor, Inc., No. 20-CV-3003(AMD)(RLM), 2021 WL 2227977,

 at *12 (E.D.N.Y. May 11, 2021) (recommending that Mr. Faillace’s rate be reduced to $375 per

 hour in a FLSA default case) Report and Recommendation adopted by 2021 WL 2223275

 (E.D.N.Y. June 2, 2021); Quito v. El Pedragal Rest. Corp., No. 16-CV-6634(BMC), 2017 WL

 2303979, at *2 (E.D.N.Y. May 26, 2017)) (reviewing other cases involving Mr. Faillace and

 setting his hourly rate at $375); but see Guauque Castiblanco v. Don Alex Peru, Inc., No. 20-CV-

 2235(MKB)(RML), 2021 WL 4755701, at *9 (E.D.N.Y. Aug. 20, 2021) (finding Mr. Faillace’s

 rate of $450 an hour to be reasonable in the FLSA default context) Report and Recommendation

 adopted by 2021 WL 4205195 (E.D.N.Y. Sept. 16, 2021). In reducing Mr. Faillace’s rate, Courts

 have noted that a rate above $375 would be inappropriate in the default context. See De La Cruz

 Casarrubias, 2021 WL 2227977, at *12; Miranda v. Astoria Provisions, LLC, No. 19-CV-

 2923(EK)(PK), 2020 WL 6370058, at *10 (E.D.N.Y. July 24, 2020) Report and Recommendation



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 adopted by 2020 WL 5810160 (E.D.N.Y. Sept. 30, 2020). Accordingly, I recommend that Mr.

 Faillace’s hourly rate should be reduced to $375. 19

         Ms. Errington’s hourly rate of $350 exceeds the reasonable hourly rate for senior associates

 in this district. See De La Cruz Casarrubias, 2021 WL 2227977, at *11-12. Other Courts have

 approved a rate of $300 per hour for senior associates with nine years of experience practicing

 wage and hour law. See Kotuwage v. NSS Petroleum Inc., No. 15-CV-4374(FB)(ST), 2019 WL

 1370692, at *1 (E.D.N.Y. Mar. 6, 2019) Report and Recommendation adopted by 2019 WL

 1370091 (E.D.N.Y. Mar. 26, 2019). Accordingly, I recommend that Ms. Errington’s hourly rate

 should be reduced to $300 per hour.

         Although counsel’s records and declaration are not explicit, he also seeks a rate of $100

 per hour for paralegal work. See Attorney’s Fee Breakdown, ECF No. 29-3. This rate is toward

 the higher end of the rates awarded for paralegal work on FLSA cases in this district. See Martinez,

 2020 WL 5260579, at *9. Further, counsel does not identify the paralegal or paralegals assigned

 to this matter and fails to provide any information about their backgrounds. Therefore, I

 recommend that the paralegal rate be reduced to $75 per hour. Id. (recommending a reduction in

 the paralegal hourly rate in a FLSA default case to $75 where counsel did not provide any

 information other than the paralegals’ names).

 2. Reasonable Number of Hours

         The Court must also consider whether the hours expended working on this matter were

 reasonable. Bliven, 579 F.3d at 213 (“[T]he Court performs a judicial function in assessing the




 19
    The Court notes that in pertinent part the NYLL permits an employee to “recover in a civil action the amount of
 any such underpayments, [and] together with costs all reasonable attorney’s fees….” NYLL § 663(1). A former
 attorney has “no independent right…to seek a fee award for themselves.” Lema v. Mugs Ale House Bar, No. 12-
 CV-2182(PKC)(JO), 2014 WL 1230010, at *3 (E.D.N.Y. Mar. 21, 2014) (citing Soliman v. Ebasco Servs. Inc., 822
 F.2d 320, 322-23 (2d Cir. 1987)). The award of attorney’s fees belongs to plaintiff.


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 attorney’s documentation as to how the hours charged were spent and determining whether, in

 light of the case itself, the fee requested is one that is ‘reasonable.’”). Upon review, the Court

 should reject requests for excessive fees. See Feuer v. Cornerstone Hotels Corp., No. 14-CV-

 5388(JFB)(SIL), 2021 WL 4894181, at *4-5 (E.D.N.Y. Oct. 20, 2021)

        Here, counsel’s records state that a total of 12.2 hours were spent on this case. The Court’s

 review finds that, overall, the number of hours expended on this matter is reasonable. See Hong v.

 Mommy’s Jamaican Market Corp., No. 20-CV-9612(LJL), 2021 WL 4843912, at *5 (S.D.N.Y.

 Oct. 15, 2021) (collecting cases); see also Brummell v. K1 HVAC Inc., No. 19-CV-

 5488(FB)(RML), 2021 WL 3888138, at *9 (E.D.N.Y. Aug. 13, 2021) (collecting cases) Report

 and Recommendation adopted by 2021 WL 3884194 (E.D.N.Y. Aug. 31, 2021). However, two

 items in counsel’s billing records should be rejected. First, the records state that on October 8,

 2020, a paralegal spent .2 hours filing a notice of appearance for Ms. Errington in the Southern

 District of New York. See Attorney’s Fee Breakdown 2. This case is obviously pending in the

 Eastern District of New York and the billing records previously stated – and the docket reflects –

 that Ms. Errington filed a notice of appearance in this matter on September 16, 2020. Therefore,

 this line item should be deducted from the total amount of paralegal time spent on this matter.

 Second, the records state that on September 17, 2020 a staff member only identified as “CS” spent

 .1 hour corresponding with opposing counsel, costing $35. Id. This line item should also be

 deducted from the total number of hours for which counsel seeks an award of attorney’s fees as

 there is no opposing counsel in this case.




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        The following chart applies the revised rates to the hours expended in this matter:

                                          Attorney’s Fees
        Personnel                  Rate                     Hours                   Total
  Michael Faillace                 $375                       2.3                  $862.50
  Clela Errington                  $300                       5.9                   $1,770
  Paralegal(s)                      $75                       3.7                  $277.50
                                           Total             11.9                   $2,910


        Accordingly, I recommend that plaintiff should be awarded $2,910 in attorney’s fees for

 11.9 hours of work.

 2. Costs

        Plaintiff also seeks costs totaling $699.20, covering the $400 filing fee and service on the

 defendants. Pl.’s Mem. 7. Although costs are recoverable under both the FLSA and the NYLL,

 plaintiff must provide adequate support for the amount sought. See Thompson v. Hyun Suk Park,

 No. 18-CV-6(AMD)(ST), 2020 WL 5822455, at *13-14 (E.D.N.Y. Sept. 1, 2020) Report and

 Recommendation adopted by 2020 WL 5820547 (E.D.N.Y. Sept. 30, 2020). The Court may take

 judicial notice of the Court’s $400 filing fee. See Pena v. Super Econ. One Way Supermarket

 Corp., No. 20-CV-3060(MKB)(PK), 2021 WL 4755603, at *13 (E.D.N.Y. Sept. 8, 2021) (citing

 Joe Hand Promotions, Inc. v. Bernal, No. 18-CV-85(ILG)(SJB), 2019 WL 885930, at *6

 (E.D.N.Y. Feb. 22, 2019)) Report and Recommendation adopted by 2021 WL 4398204 (E.D.N.Y.

 Sept. 25, 2021). However, plaintiff fails to provide support for his remaining fees. Therefore, the

 Court should not award additional costs. See Piedra v. Ecua Rest. Inc., 2018 WL 1136039, at *2

 (E.D.N.Y. Jan. 31, 2018) (“[T]he Court cannot simply accept at face value the other costs that

 plaintiff’s counsel seeks, such as service of process…without additional supporting documentation

 for those costs.”) Report and Recommendation adopted by 2018 WL 1135652 (E.D.N.Y. Feb. 28,




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 2018). Accordingly, I recommend that plaintiff should be awarded costs of $400 against

 defendants.



                                         CONCLUSION

        Accordingly, it is respectfully recommended that plaintiff’s motion for a default judgment

 should be granted. Plaintiff should be awarded $100,020.09 in unpaid overtime compensation;

 $2,049 in unpaid spread of hours compensation; $102,069.09 in liquidated damages; $5,000 for

 defendants’ wage notice violation; $5,000 for defendants’ wage statement violation; $308 as

 reimbursement for “tools of the trade” expenses; $31,286.31 in pre-judgment interest to increase

 by $25.17 per day until the entry of judgment; and post-judgment interest as set forth in 28 U.S.C.

 1961(a). If any amount of the judgment remains unpaid after ninety-days or ninety-days after the

 expiration of the time to appeal, the total amount of the judgment should increase as provided by

 NYLL § 198(4). I further recommend that plaintiff should be awarded attorney’s fees of $2,910

 and costs of $400.




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        FILING OF OBJECTIONS TO THIS REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b) of the Federal Rules of Civil Procedure,

 the parties shall have fourteen (14) days from service of this Report to file written objections. See

 also Fed. R. Civ. P. 6. Such objections (and any responses to objections) shall be filed with the

 Clerk of the Court. Any request for an extension of time to file objections must be made within

 the fourteen-day period. Failure to file a timely objection to this Report generally waives any

 further judicial review. Marcella v. Capital Dist. Physician’s Health Plan, Inc., 293 F.3d 42 (2d

 Cir. 2002); Small v. Sec’y of Health & Human Servs., 892 F.2d 15 (2d Cir. 1989); see Thomas v.

 Arn, 474 U.S. 140 (1985).

 SO ORDERED.

                                                                             /S/
                                                               LOIS BLOOM
                                                               United States Magistrate Judge

 Dated: January 4, 2022
        Brooklyn, New York




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